      Case: 19-17423, 04/27/2020, ID: 11673538, DktEntry: 22, Page 1 of 3
                                                                       RECEIVED
                                                                         MOLLY C. DWYER, CLERK
                                                                         VS.* COURT OF APPEALS

                                                                           APR 2 7 2020
Russell Greer
7901 South 3200 West                                          =R-ED
                                                              OOCKETED
P.O. Box 152                                                                   DATE              INITIAL'
West Jordan, Utah 84088
801-895-3501
         a gmail.com
russinark&
Pro Se Litigant



                   IN THE UNITED STATES COURT OF APPEALS
                                                                                   --n 7
                           FOR THE NINTH CIRCUIT             jq—



REBEKAH CHARLESTON,                           PROPOSED INTERVENOR
                                          DEFENDANT'S NOTICE OF CHANGE
       Plaintiff                                  OF ADDRESS

V.
                                              Case No.:    0: 1 9-cv- 17423
STATE OF NEVADA ET AL,

       Defendant
       Case: 19-17423, 04/27/2020, ID: 11673538, DktEntry: 22, Page 2 of 3




       Proposed Defendant-Intervenor Russell Greer files this Notice of Change of Address and

informs the Court that his new address is:

                                         Russell Greer
                                     7901 South 3200 West
                                         P.O. Box 152
                                    West Jordan, Utah 84088


       Respectfully submitted this 27th day of December, 2019.



                                             Respectfully,




                                             Russell Greer
                                             Pro Se Litigant
                                             /rgreer/




                                               2
       Case: 19-17423, 04/27/2020, ID: 11673538, DktEntry: 22, Page 3 of 3




                                CERTIFICATE OF SERVICE:

Pursuant to FRCP 5(b), I certify that on December 27t", 2019, 1 served a true and correct
copy of the attached document by Electronic Mail on the following:

Jason D. Guinasso
jguinasso@hutchlegal.com


Nevada State Legislature
Kevin Powers
kpowers@lcb.state.nv.us


State of Nevada
Gregory Zunino
GZunino@ag.nv.gov


Gus Flangas
gwf@fdlawlv.com
